                            Case 1:17-bk-12408-MB            Doc 616 Filed 08/07/19 Entered 08/07/19 15:48:38                           Desc
                                                               Main Document Page 1 of 2




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NEW YORK, NEW YORK 10018




                             10                                 UNITED STATES BANKRUPTCY COURT
 1441 BROADWAY, STE. 6026
  SOLOMON & CRAMER LLP




                                                                   CENTRAL DISTRICT OF CALIFORNIA
                             11                                    SAN FERNANDO VALLEY DIVISION
       (212)884-9102




                             12   In re:                                                      Lead Case No.: 1:17-bk-12408-MB
                                                                                              Jointly administered with:
                             13   ICPW Liquidation Corporation, a California                  1:17-bk-12409-MB Chapter 11 Cases
                                  corporation, 1
                             14                  Debtor and Debtor in Possession. ORDER APPROVING STIPULATION OF
                                                                                  SETTLEMENT
                             15
                                  In re:
                             16                                                               [Relates to Docket Nos. 438 & 551]
                                  ICPW Liquidation Corporation, a Nevada
                             17   corporation, 2
                                                 Debtor and Debtor in Possession.
                             18

                             19         Affects:
                             20    Both Debtors
                             21    ICPW Liquidation Corporation, a California
                                    corporation
                             22
                                   ICPW Liquidation Corporation, a Nevada
                             23     corporation
                             24
                                  1
                                      Formerly known as Ironclad Performance Wear Corporation, a California corporation (“ICPW CA”).
                             25   2
                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW NV;” and together with
                             26   ICPW CA, “ICPW”).
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                              1            The Court, having reviewed the Stipulation of Settlement (the “Stipulation”), filed as Docket
                              2   Number No. 615, entered into Matthew Pliskin, the trustee under the trust created pursuant to the
                              3
                                  Debtors and Official Committee of Equity Security Holders Joint Plan of Liquidation Dated
                              4
                                  February 9, 2018, and that certain trust agreement dated as of February 28, 2018 (the “Plan
                              5
                                  Trustee”), on the one hand, and QBE Insurance Corporation, Jeffrey Cordes, and William
                              6

                              7   Aisenberg, on the other, on the other, and good cause appearing,

                              8            IT IS HEREBY ORDERED:

                              9            The Stipulation is approved.
NEW YORK, NEW YORK 10018




                             10
 1441 BROADWAY, STE. 6026
  SOLOMON & CRAMER LLP




                                           The Plan Trustee shall lodge an order in adversary proceeding 1:18-ap-01011-MB
                             11
       (212)884-9102




                                  dismissing that proceeding with prejudice pursuant to the terms of the Stipulation.
                             12
                                           IT IS SO ORDERED.
                             13
                                                                                   ###
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                                  Date: August 7, 2019
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